

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,490






EX PARTE RICARDO RAMOS, JR. , Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 07-03-06016-MCRAJA IN THE 365TH DISTRICT COURT


FROM MAVERICK COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of burglary of a
habitation and sentenced to nine years' of community supervision.  Applicant subsequently pleaded
true to a motion to revoke and was sentenced to nine years' imprisonment. He did not appeal his
conviction. 

	Applicant contends that his plea of "true" to the motion to revoke was involuntary because
it was predicated on the possibility of "shock probation," and he was not brought back to Maverick
County while the trial court still had jurisdiction to consider "shock probation." Counsel did not file
necessary motions to have applicant considered for "shock probation" while the trial court still had
jurisdiction under Section 6 of Article 42.12 of the Code of Criminal Procedure.  We remanded this
application to the trial court for findings of fact and conclusions of law.

	Trial counsel filed an affidavit with the trial court.  Based on that affidavit, the trial court
determined that plea of true to motion to revoke was rendered involuntary by counsel's
ineffectiveness.  Applicant is entitled to relief.  Ex parte Huerta, 692 S.W.2d 681 (Tex. Crim. App.
1985).

	Relief is granted.  The judgment revoking community supervision in Cause No. 07-03-06016-MCRAJA in the 365th Judicial District Court of Maverick County is set aside, and Applicant is
remanded to the custody of the sheriff of Maverick County to answer the allegations as set out in
State's Application to Revoke Community Supervision.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.


Delivered: February 2, 2011

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